Case 1:18-cV-00574-LI\/|B-TCB Document 18 Filed 09/04/18 Page 1 of 2 Page|D# 216

IN THE UNITED STATES DISTRICT COURT FOR
THE EASTERN DISTRICT OF VIRGINIA
Alexandria Division

BOARD OF TRUSTEES, SHEET METAL )
WORKERS’ NATIONAL PENSION FUND, )
et al. )
)
Plaintiffs, )
)

v. ) l:lS-cv-574 (LMB/TCB)
)
CRO SHEET METAL CORP. )
)
Defendant. )
ORDER

On August lO, 2018, a magistrate judge issued a Report and Recommendation
("Report"), in Which she recommended that a default judgment in the total amount of
$24,860.94, consisting of $13,983.68 in delinquent payments; $737.97 in accrued interest;
$2,796.74 in liquidated damages; $428.97 in late fees; $330.85 in audit costs; $5,938.00 in
attomey’s fees; and $644.73 in costs be recovered by plaintiffs The Report placed the parties on
notice that any objections had to be filed within fourteen (14) days of receipt of the Report and
that failure to file timely objections waived appellate review of any judgment based on the
Report. As of September 3, 2018, no objections have been filed.

A review of the Report, case file, and plaintiffs’ Motion for Default Judgment with its
attachments, accurately states the relevant facts and law. Therefore, the findings and conclusions
of the Report are adopted as the Court’s findings and conclusions, and on this basis plaintiffs’

Motion for Default Judgment is GRANTED, and it is hereby

Case 1:18-cV-00574-LI\/|B-TCB Document 18 Filed 09/04/18 Page 2 of 2 Page|D# 217

ORDERED that the plaintiffs’ proposed Order and Judgment will be entered.
The Clerk is directed to enter judgment in the plaintiffs’ favor pursuant to Fed. R. Civ. P.
55 and forward copies of this Order, along With the Order and Judgment by default to counsel of

record for plaintiffs and to defendant at the address listed in the case flle.

M_
Entered this j day of September, 2018.

Alexandria, Virginia

~ /s/
Leonie M. Brinkema
United States District Judge

 

